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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

UMOJA ERECTORS, LLC :
Plaintiff, : CIVIL ACTION NO.: 20 CV- 05046
a:
D.A. NOLT
Defendant.
ORDER
AND NOV, this day of , 2024, upon consideration of the

Plaintiffs Motion to alter or amend the Order and Memorandum of February 16, 2024, and any

response thereto, it is hereby ORDERED that the said Motion is granted. The Court finds in
favor of the Plaintiff on all claims in the amount of $332,0076.86 with the final amount to be

adjusted for back interest and related charges applicable under the Prompt Pay Act.

This day of 2024

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

UMOJA ERECTORS LLC :
Plaintiff, : CIVIL ACTION NO.: 20 CV- 05046
Vv.
D.A. Nolt, Inc.
Defendant

PLAINTIFF’S MOTION TO ALTER OR AMEND THE ORDER OF FEBRUARY 16,
2024 PURSUANT TO FED. R.C-P. 59

Pursuant to Federal Rule of Civil Procedure 59, Umoja Erectors, LLC, resepctfully moves
to amend and alter the Order and Memorandum of February 16, 2024 and for other and further
relief as the Court deems just and proper. In support, Umoja Erectors, LLC submits its
Memorandum of Law, which is being filed contemporaneously with this motion, verification,

proposed order, and proof of service.

LAW & ASSOC

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|ATES, LLC

Tsiwen M,Law, Esquire
ene the Plaintiff
Umoja Erectors, LLC

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

UMOJA ERECTORS LLC :
Plaintiff, : CIVIL ACTION NO.: 20 CV- 05046

¥.

DA NOLT, INC.
Defendant

PLAINTIFF’S MEMORANDUM OF LAW SUPPORTING ITS MOTION TO ALTER
OR AMEND THE ORDER AND MEMORANDUM OF FEBRUARY 16, 2024
PURSUANT TO FED. R.C.P. 59

UMOJA Erectors, LLC, (hereinafter “Umoja”), by and through its Counsel, Law &
Associates, LLC, hereby moves for alteration or amendment of the Courts Order and
Memorandum of February 16, 2024 pursuant to Fed. R. Civ Proc. 59 on the following grounds:
1. The Court erred in its Order and Memorandum of February 16, 2024 denying
Umoja’s claims for damages for breach of contract in a lawsuit against the Defendant
general contractor D.A. Nolt (hereinafter “Nolt”). The Court denied payment to
Umoja for amounts timely invoiced to the general contractor for time and materials
allowed under Exhibit A, p.18, of the subcontract between Umoja and D.A. Nolt.
The Subcontract Exhibit A did not state a limit on payments for time and materials.

2. The Court’s order and memorandum of law were contrary to the plain meaning of the
contract between Umoja and Nolt, and in particular, the specific provision that once
Nolt was paid by the Philadelphia Municipal Authority, Umoja would be paid by Nolt.

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In August 2022, Nolt was paid in full for all the steel work, as was acknowledged at
trial and offered into the record as uncontested facts by the parties. Uncontested Facts
#12.

Judge Pratter who heard the case against Nolt also heard the case by Nolt against the
Philadelphia Municipal Authority (PMA) and awarded Nolt the full value of its
contract with the Authority. The full value of the Nolt contract contained the full

value of all steel furnished and erected at the project site.

._ The Order of February 16, 2024 and Memorandum were contrary to the weight of the

evidence, because they denied Umoja the full value of its invoices for the erection of
steel at the Public Safety and Security Campus (“PSSC).

The Court erred as a matter of law by applying the Standard Contract Requirements
paragraph 66 (hereinafter “SCR”)to amounts invoiced by Unoja when the PMA
project manager Pedro Pinto never rejected any of the Plaintiff's erection work.

The Court had previously recognized that Pedro Pinto was the project manager in the
action by D.A. Nolt v. Philadelphia Management Authority C.A. 18-cv-4997. Pedro
Pinto did not testify nor did D.A. Nolt submit any documents that he had rejected any
of Umoja’s steel erection or other work.

Without explicit proof of Mr. Pinto’s rejection under the SCR , the Court erred when
applying the cost shifting provisions of the Standard Contract Requirements (SCR)
paragraph 66 to the work of Umoja.

Under the plain reading of the terms of the SCR 66, it only took effect when the

Pedro Pinto executed the cost shifting provisions against the Subcontractor Umoja.
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Richard O’Brien, the principal witness of D.A. Nolt testified that the PMA project
manager never asserted the provisions of SCR 66 against any of the work done by
Umoja.

The Court erred as a matter of law in allowing Nolt to assert recoupment claims
against Umoja, when the Subcontract made no provision for recoupment of Nolt’s
costs.

The Court erred as a matter of law in allowing Nolt to assert recoupment claims when
Exhibit A of the Subcontract stated explicitly that the general contractor Nolt was
responsible for crane rental fees, third party inspector costs, and other services for the

good of all the trades at the construction site.

. The Court erred as a matter of law in allowing Nolt to assert recoupment claims

against Umoja which arose from contracts between Defendant and third parties.

The Court’s order of February 16, 2024 contradicts the explicit mandate of the
United States Supreme Court’s decision in Rothensies v. Electric Storage Battery,
329 U.S. 296 (1946): (recoupment) has never been thought to allow one transaction to
be offset against another... “ Contrary to Rothensies, Nolt’s payments to other
subcontractors have been used to offset Umoja’s invoices.

WHEREFORE, Plaintiff Umoja moves the Court to alter or amend the February 16,
2024 Order on the above issues or enter an order in the form as attached hereto.

LAW & ASSOCIATES, LLC

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Counsel forthe Plaintiff
Umoja Erectors, LLC

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

UMOJA ERECTORS LLC :
Plaintiff, : Cc. A. NO.: 2-20 CV 05046
Vv.
D.A. NOLT
Defendant.

VERIFICATION

I, Tsiwen M. Law, Esquire, Counsel for the Plaintiff Umoja Erectors, LLC, hereby verify:

1 That I am counsel for Plaintiff and am authorized by Plaintiff Umoja Erectors,
LLC to file this Motion to alter or amend the Order and memorandum of February
16, 2024.

2 The facts set forth in the foregoing Motion are true and correct to the best of my

knowledge, information, and belief.

3. That this verification is made subject to the penalties for unsworn falsification to
authorities pursuant to Pa. 18 U.S.C. §1621.

LAW & ASSOCIATES, LLC

TsiwefrM. Law, Esquire
ounsel for Plaintiff, Umoja
’ Erectors, LLC

BY:

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

UMOJA ERECTORS LLC Ty
Plaintiff, : CIVIL ACTION
¥. -
D.A. NOLT : NO: 20-05046-GP
Defendant. :
PLAINTIFF'S SECOND SUPP NTAL

PROPOSED CONCLUSIONS OF LAW
40. The essence of the doctrine of recoupment is stated in the Bull case, “Recoupment

is in the nature of a defense arising out of some feature of the transacrion upon which the
plantiff’s action is grounded.” 295 U.S. 247, 262, 55 S.Ct. 700, 79 L.Ed. 1421. It has never been
thought to allow one transaction to be offset against another, but only to permit a transaction
which is made subject of suit by a plaintiff to be examined in all its aspects, and judgment to be
rendered that does justice in view of the one transaction as a whole...Rothensies v. Electric
Storage Battery, 329 U.S. 296 (1946)

41. In May Department Stores Company v. City of Pittsburgh, 376 A.2d 309, 31 Pa.
Cmwith. through 98 (Pa. Commw. Ct. 1977), the Commonwealth Court held that the doctrine of
“equitable recoupment,” provides that, at least in some cases, a claim for a refund of taxes barred
by a statute of limitations may nevertheless be recouped against a tax claim of the government.
Further, the doctrine has in any event been restricted by subsequent cases to situations where “a
single transaction constituted the taxable event claimed upon and the one considered in
recoupment.” Rothensies v. Electric Storage Battery Company, 329 U.S. 296, 299-300, 67 S.Ct.

271, 11, L.Ed. 296 (1946).

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42, D.A. Nolt’s contracts with Delaware Valley Crane Rental, Inc., Roofers Union
Local 30, R.P. Concrete, Inc., Pennoni, BP Environmental Services, Haztek, Inc., and Acton
Mobile were separate transactions from its steel erection and coordination contract with Umoja
Erectors, LLC and therefore not subject to recoupment.

43. _D.A. Nolt’s salaries and fringe benefits for Richard O’Brien and other D.A. Nolt
employees were separate transactions, from the Umoja Erectors, LLC steel erection and
coordination fully integrated contract (Umoja Subcontract Article 3) and therefore not subject to
recoupment. e

44. In Baill Consumer Discount Company v. Vezpeziano, 490 Pa. 209, 415
A.2d689 (Pa 1980), the Supreme Court held that “recoupment” is in the nature of a defense
arising out of some feature of the transaction upon which the Plaintiffs action is grounded.
Recoupment of the overpayment of a state tax could have been asserted by way of defense and
credit obtained notwithstanding the statute of limitations in an independent suit against the
government therefore.

45, DA Nolt has not paid Umoja Erector invoices #550 to #571 and therefore, has no

grounds to claim recoupment of amounts overpaid.

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LAW & [ATES, LLC
i Atty. LD. No. 40960

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

UMOJA ERECTORS LLC :
Plaintiff, : CIVIL ACTION NO.: 20 CV- 05046
Vv.
D.A. Nolt, Inc.
Defendant

PROOF OF SERVICE OF MOTION TO ALTER OR AMEND THE JUDGMENT

I, Tsiwen M. Law, Counsel for the Plaintiff Umoja Erectors, LLC hereby certify that on
March 12, 2024, I served a true and correct copy of the foregoing Plaintiff's Motion to alter or
amend the Order and Judgment of February 16, 2024 upon Counsel of record for the Defendant,
Jennifer Budd, Esq., by and through the court electronic computer filing system and at the
address below.

Jennifer Budd, Esq.
George E. Pallas, Esq.
Cohen Seglias ef al.
1600 Market St.
32" floor,
Philadelphia, PA 19103 . me aoe
LAW ee Suc 7
ky Z eS
Tsiwén M. Law, Esqfhire
Cotinsel forthe Plaintiff
Umoja Erectors, LLC

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BY:

